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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
                                            )
v.                                          )       Case No. 21-cr-00035-EGS
                                            )
RONALD MCABEE                               )
                                            )
                       Defendant            )
                                            )



 NOTICE OF WITHDRAWAL OF APPEARANCE OF JOHN M. PIERCE ON BEHALF
                  OF DEFENDANT RONALD MCABEE

       Pursuant to Local Civil Rule 83.6(b). the undersigned counsel hereby respectfully

withdraws his appearance for Defendant Ronald McAbee in the above-caption matter. As of

April 28, 2022 William L. Shipley has been retained and will be substituting as counsel of record

for Defendant Ronald McAbee. Mr. Shipley has filed an Appearance of Counsel form in this

case and is a member of the D.DC. bar. As Mr. Shipley will remain as lead counsel, there will be

no delay in these proceedings.



Date: April 28, 2022                 Respectfully Submitted,



                                     John M. Pierce
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                                     3d Floor, PMB#172
                                     Woodland Hills, CA 91367
                                     Tel: (213) 279-7846
                                     Email: jpierce@johnpiercelaw.com
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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, April 28, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                     /s/ John M. Pierce
                                     John M. Pierce
